Case 1:21-cr-00077-SWS   Document 1   Filed 07/22/21   Page 1 of 5
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                                                                       1:25 pm, 7/22/21

                                                                     Margaret Botkins
                                                                      Clerk of Court
Case 1:21-cr-00077-SWS   Document 1   Filed 07/22/21   Page 2 of 5
Case 1:21-cr-00077-SWS   Document 1   Filed 07/22/21   Page 3 of 5
Case 1:21-cr-00077-SWS   Document 1   Filed 07/22/21   Page 4 of 5
Case 1:21-cr-00077-SWS   Document 1   Filed 07/22/21   Page 5 of 5
